                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 1:15-cv-00462-CCE-JLW

DANIELLE SEAMAN, individually and
on behalf of all others similarly situated,

                     Plaintiff,

              v.

DUKE UNIVERSITY and DUKE
UNIVERSITY HEALTH SYSTEM,
INC.

                     Defendants,



     JOINT MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR
             PRELIMINARY APPROVAL OF SETTLEMENT

       Plaintiff Danielle Seaman and Defendants Duke University and Duke University

Health System (the “Parties”) hereby respectfully request that the Court grant a limited

extension until May 14, 2019 to file a motion to preliminarily approve the settlement in

this matter. In support of this motion, the Parties state as follows:

       1.     The Parties informed the Court in a Telephone Conference on April 8, 2019

that they had reached a preliminary settlement in this matter. That same day, the Court

entered a minute entry suspending all scheduling deadlines, cancelling the trial date, and

stating that the motion for preliminary settlement approval was due by April 30, 2019.

       2.     Since the April 8 Telephone Conference, the parties have worked diligently

to finalize the settlement terms and prepare the motion papers. Despite their diligence, the




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parties require additional time to finalize the motion papers due to the length and

complexity of those documents. Accordingly, the Parties request a brief extension of time

until May 14, 2019 to file the motion for preliminary settlement approval. The parties

will endeavor to file as soon as they are in a position to do so.

        3.    This filing is not made for the purpose of delay or any other improper

purpose.

        WHEREFORE, the Parties respectfully request that the Court enter an order

extending their time to file the motion for preliminary settlement approval until May 14,

2019.

        Respectfully Submitted,

Dated: April 29, 2019                 /s/ Dean M. Harvey
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